                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      CASE NO. 1-11-00010-4
                                                    )      JUDGE SHARP
JERAMIE HILL                                        )
                                                    )

                                          ORDER


       Pending before the Court is Defendant’s Motion to Continue Sentencing Hearing (Docket

No. 155) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing set for November 22, 2013, is

hereby rescheduled for Friday, January 31, 2014, at 1:30 p.m.

       It is so ORDERED.




                                                  KEVIN H. SHARP
                                                  UNITED STATES DISTRICT JUDGE




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